         Case 3:20-cr-00104-SMR-SBJ Document 84 Filed 10/31/22 Page 1 of 1



                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF IOWA

 UNITED STATES OF AMERICA,                                         )
                                                                   ) Criminal No. 3:20-cr-00104
                       v.                                          )
                                                                   ) DECLARATION OF PUBLICATION
 ANTONIO LASHAWN WARFIELD,                                         )
                                                                   )
                      Defendant.                                   )

         In accordance with 21 U.S.C. § 853(n)(1) and Fed. R. Crim. P. 32(b)(6)(C),

notice of the forfeiture was posted on an official government internet site

(www.forfeiture.gov) for at least 30 consecutive days, beginning on May 27, 2022, and

ending on June 25, 2022. (See Attachment 1).

                                                                    Respectfully Submitted,

                                                                    Richard D. Westphal
                                                                    United States Attorney

                                                             By: /s/ Craig Peyton Gaumer
                                                                 Craig Peyton Gaumer
                                                                 Assistant United States Attorney
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                                                CERTIFICATE OF SERVICE

       I hereby certify that on October 31, 2022, I electronically filed the foregoing with the Clerk of Court using the
CM/ECF system. I hereby certify that a copy of this document was served on the parties or attorneys of record by:

                 ________U.S. Mail        Fax      Hand Delivery    X ECF/Electronic filing      Other means

                                                                              UNITED STATES ATTORNEY
                                                                              By:/s/ K. Saltos
                                                                              Paralegal Contractor
